                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
UNITED STATES OF AMERICA,
                                                              CRINIIINAL NO.:3:13cr258¨ R」 C
                       Plaintift
                                                                 CONSENT ORDER AND
        V.                                                    JUDGⅣ IENT OF FOVEITU駆
                                                                PENDING RULE 32.2(c)(2)
(7)TONY LAMAR FLOYD,
                       Defendant.

        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

        1.      The following property is forfeited to the United States pursuant to 21 U.S.C. $
853 and/or 28 U.S.C. $ 2461(c), provided, however, that forfeiture of specific assets is subject to
any and all third party petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

       Approximately $4'977 in United States currency seized during the investigation on
       or about December 512012;

       Approximately $1,223 in United States currency seized during the investigation on
       or about July 25, 2013.

       2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3. If and to the extent required by Fed. R. crim. p.32.2(b)(6),2t u.s.c. g g53(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.




    Case 3:13-cr-00258-RJC-SCR             Document 111        Filed 01/08/14      Page 1 of 2
       6.       As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files atimely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

        The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 21 U.S.C $ 853 and/or 28 U.S.C. $ 2a61(c). The Defendant hereby waives the
requirements of Fed. R. Crim. P.32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in
the judgment against Defendant. If the Defendant has previously submitted a claim in response
to an administrative forfeiture proceeding regarding any of this property, Defendant hereby
withdraws that claim. If Defendant has not previously submitted such a claim, Defendant hereby
waives all right to do so. As to any firearms listed above and/or in the charging instrument,
Defendant consents to destruction by federal, state, or local law enforcement authorities upon
such legal process as they , in their sole discretion deem to legally sufficient, and waives any and
all right to further notice of such process or such destruction.


ANNE M. TOMPKINS
UNITED STATES ATTORNEY




STEVEN R. KAUFMAN                                       TONY          AR FLOYD
Assistant United States Attorney                        Defendant




                                                           ACEY DA          RUBAIN, ESQ.



Signed this thc 8th day of January 2014.




                                                        LE DAVID S.CA
                                                UNITED STATES MAGISTRATE JUDGE




     Case 3:13-cr-00258-RJC-SCR              Document 111         Filed 01/08/14      Page 2 of 2
